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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

BATTERY CONSERVATION                  )
INNOVATIONS, LLC                      )
                                      )                     PATENT
                                      )
      Plaintiff,                      )                     Case No:
                                      )
vs.                                   )                     JURY TRIAL DEMANDED
                                      )
CANVAS SOLUTIONS, INC., d/b/a         )
GOCANVAS                              )
                                      )
      Defendant.                      )
_____________________________________ )

                        CORPORATE DISCLOSURE STATEMENT

        Pursuant to F.R.C.P. 7.1, Battery Conservation Innovations, LLC (“Plaintiff” or “BCI”)

hereby states:

   1.            BCI does not have a parent corporation and no publicly held companies own 10%

or more of its stock.



Dated: May 3, 2019                        Respectfully submitted,

                                          /s/    David A. Chavous

                                                David A. Chavous, Esq.
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